Case 1:06-cv-02773-CCB Document 2 Filed 10/23/06

COALITION FOR EQUITY AND EXCELLENCE
IN MARYLAND HIGHER EDUCATION

300 Rockville Pike, Suite 400

Rockville, Maryland 20852

Plaintiff
Sally C. McMillan
Plaintiff -
Tina M. Vines
Plaintiff
v.

ROBERT L. EHRLICH, JR.
Governor

State House. 100 State Circle
Annapolis, Maryland 24401-3013

STATE OF MARYLAND

Serve on:
Naney K. Kopp
Maryland State Treasurer
Goldstein Treasury Building

- BO Calvert Street, Room 400
Annapolis, Maryland 24401-3013

MARYLAND HIGHER EDUCATION COMMISSION

Serve on:

Kevin M. O'Keefe, Chairman
839 Bestgate Road

Annapolis, Maryland 21401-3013

KEVIN MM. O'KEEFE
Chairman
Maryland Higher Education Commission

 

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BALTIMORE

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839 Besigate Road ©
Annapolis, Maryland 21404-3013

CALVIN W. BURNETT
Secretary of Higher Education
A39 Bestgate Road, Suite 400

Annapolis, MD 21401-3013 .
Defendants *

COMPLAINT FOR MANDAMUS, A DECLARATORY JUDGMENT
AND PRELIMINARY AND PERMANENT INJUNCTIVE RELIEF

Nature of Complaint

4. This civil action for declaratory, injunctive and mandamus relief is brought on
behalf of Plaintiffs seeking to prevent the State of Maryland from continuing to operaie
its public system of higher education in violation of Maryland and federal laws
prohibiting: discrimination based on race in educational opportunities; prohibiting the
maintenance of a dual system of education based on race. and mandating the creation
of a public higher education system which ensures thai the State’s historically black
institutions (HBCUs) are comparable and competitive with the State’s traditionally white
institutions (TWI1s) in all facets of their opcrations and programs, enabling all institutions
to compete for, be attractive to and provide a quality education, regardless of the race
of the students who choose to attend them or the racial composition of a given

institution of higher education.
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Authority
2. This civil action for declaratory and relief is authorized by the Uniform
Declaratory Judgment Act, Md. Code Ann., Cts. & Jud. Proc. § 3-401 et seq. This civil
action for injunctive relief is authorized pursuant to Chapter 500 of the Maryland Rules.
This civil action for a writ of mandamus is authorized pursuant to Chapter 700 of the
Maryland Rules.

3. We also move this Court to order such other and further equitable relief as may
be just and proper.

Jurisdiction and Venue ©

4. _ Jurisdiction is proper in this Court as all defendants regularly carry on business
in Baltimore, Maryland and is In accordance with Courts and Judicial proceedings
Article, Sections 3-401 et seq., and 3-88-01 |

5 Venue is proper in this Court pursuant to Courts and Judicial Proceedings
Article, Section 6-201(a), as ali defendants regularly carry on business in Baltimore,
Maryland and the Maryland Declaration of Rights, Md. Code Ann, Const. Art. 24.

6. Plaintiff, The Coalition for Equity and Excellence in Maryland Higher Education,
inc. is a nonstock corporation incorporated i in Maryland and doing business in
Baltimore, Maryland, with a primary focus of the corporation being to ensure equity in
Maryland higher education. |

7. Plaintiff, Salty C. McMillan, is a student at Morgan State University. She is a
junior majoring in Political Science. |

g “Plaintiff, Tina M. Vines, is an student at Morgan State University. She is a

senior majoring in Electrical Engineering.
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9. Defendant, Robert L. Ehrlich, Jr. is and was at ail times relevant to these
proceedings, Governor of the State of Maryland, and is sued in his official capacity.

10. Defendant Maryland Higher Education Commission (MHEC) is an agency and
instrumentality of and created by defendant State of Maryland.

44. Defendant Kevin O'Keefe is and was at all times relevant to these
proceedings, the Chairman of the MHEC, and is sued in his official capacity.

42. Defendant Calvin Ww. Bumett is and was at all times relevant to these
proceedings, the Secretary of the MHEC, and is sued in his official capacity.

Facts Common to All Counts

43. The Maryland Constitution mandates that the State provide a thoraugh and
efficient public schuol system. Maryland Constitution, Article VI.

44, The Maryland Charter for Higher Education is a statutory statement of policy
for higher education in Maryland. Md. Code Ann., Educ. § 10-201.

45. ° The Maryland Charter for Higher Education sets forth principles on which
higher education in Maryland should be based, to include among others: that the
people of the State of Maryland expect quality in all aspects of public higher education
(teaching, research, and public service), that public higher education should be
accessible to alk those who seek and qualify for admission, that public higher education
should provide a diversity of quality educational opportunities; that adequate funding by
the State of Maryland is critical if public higher education is to achieve its goal, that the
people of Maryland are entitled to efficient and effective management of public higher
education, and that the people of Maryland are entitled to capable and creative

leadership in public higher education. Md. Code Ann., Educ. § 10-202.
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46. The Maryland Charter for Higher Education requires the State's funding
policies to allocate State resources efficiently while providing incentives for quality and
institutional diversity. Md. Code Ann., Educ. § 10-203.

47. lhe Maryland Charter for Higher Education requires funding proposals to
include base funding in accordance with the role and mission of the institutions and to
include special initiative funding for academic programs at historically African American
colleges and universities. Md. Code Ann., Educ. § 10-203.

48. The Maryland Charter for Higher Education requires the Governor and
General Assembly to establish broad policy regarding higher education, to delegate
implementation of the policy to appropriate boards, commissions, institutions and
officials, to provide for the adequate financing of public higher education, and to
demand accountability and effective management from public institutions of higher
education, Md. Code Ann., Educ. § 10-206.

19. The Maryland Charter for Higher Education requires the Maryland | ligher
Education Commission to advise the Governor and General Assembly on statewide
higher education policy, to conduct statewide planning for higher education, to
coordinate and arbitrate among different segments of higher education in the State; to
review, negotiate as necessary, and grant final approval of mission statement for each
public institution of higher education and each regional higher education center that
Tequests or receives state finding; to assess the adequacy of operating and capital
funding for public higher education and establish operating funding gtiidelines hased an
comparison with peer institutions and on other relevant criteria and administer
statewide programs of student financial assistance for higher education. Md. Code

Ann., Educ. § 10-207.

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99. MHEC is an agency and instrumentality of the State of Maryland.

24, MHEC is the State's higher education board responsible for “coordinate[ing]
the overall growth and development of postsecondary education in the State.” Md.
Code Ann., Educ. § 11-105(b). |

59 MHEC is responsible for developing and periodically updating an overall plan
for higher education in the State known as the Stafe Plan for Higher Education.

- 93 The-current State Plan for Higher Education, entitled “2004 Maryland State
Pian for Postsecondary Education", reports that “racial and ethnic minorities
represented all of the enrollment growth in the state during the past 10 years, and that
this trend will nat abate’, that half of all of the public high schoo} students in Maryland in
2003 were mincrities, that the percentage of African American and Hispanic secondary
school students has risen steadily from 41 to 44 percent in the past four years, and that
African Americans and Hispanics will constitute 86 percent of the growth in high school
graduates in Maryland through 2008. 2004 Marytand State Pian for Postsecondary
Education at 7.

24. The 2004 Maryland State Plan for Postsecondary Education reports that
financial aid is a critical component of the State's efforts to improve affordability and
minimize financial barriers to higher education, that Maryland is ranked 23” in State
need-based grant aid per FTE, that additional funding is still necessary to assist all
eligible needy students. 2004 Maryland State Plan for Postsecondary Education at 21.

25 The 2004 Maryland State Plan for Postsecondary Education provides that it is
important that Maryland's HBCUs, which are projected to absorb significant growth, are

enhanced to ensure their appeal to new students. 2004 Maryland State Plan for

Postsecondary Education at 22.
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26, The 2004 Maryland State Plan for Postsecondary Education provides that
Maryland is committed to ensuring equal access to high quality education for all citizens
regardiess of race and that due to Maryland's history of de jure racial segregation,
Maryland has an obligation under federal law and court decisions to remedy past
discrimination and to remove the vestiges of the past system of duat and unequal
education. 2004 Maryland State Plan for Postsecondary Education at 25. |

27. The 2004 Maryland State Plan for Postsecondary Education provides that
Maryland has entered a partnership agreement with the U.S. Department of
Education's Office for Civil Rights (OCR) to advance equal educational opportunity in
the State with specific commitments to include among others, improving campus
climate and environment, enhancing the State's HBCUs, avoiding unnecessary
program duplication, enhancing mission and program uniqueness, and strengthening
institutional identify at the HBCUs, if requires the State fo evaluate on an ongoing basis
the progress that it has made in these areas and to adjust policies, practices, and
programs as needed and to determine how to maintain these efforts after the formal
partnership agreement has ended and to identify additional steps that would enhance
and strengthen diversity. 2004 Maryland State Plan for Postsecondary Education at 25,
26. |

28. The 2004 Maryland State Plan for Postsecondary Education requires the
State to provide appropriate enhancement funding for its HBCUs consistent with the
requirements set forth in the Partnership Agreement between the State of Maryland
and the United States Department of Education, Office for Civil Rights (Maryland/OCR
Partnership Agreement), and to design measures to make certain that the HBCUs are

comparable and competitive with Maryland's traditionally white institutions in ail facets

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of their operations and programs, to ensure that the campus environments at the
“BCUs are comparable to other institutions with respect to the physical characteristics
of landscape, ambiance, appearance, as well as to the availability, quality, and
adequacy of facilities necessary to support the missions and programs of the
stitutions. 2004 Maryland State Plan for Postsecondary Education at 26.

29. MHEC is obligated to “ensure that the State Plan for Higher Education
complies with the State's equal educational opportunity obligations under State and
federal law, including Title vl of the Civil Rights Act,” Md. Code Ann., Educ. § 11-
405(b), including the Maryland Declaration of Rights, Md. Code Ann, Const. Art. 24,
ULS. v. Fordice, 505 U.S. 717 (1992).

30, MHEC is responsible for developing a program of desegregation and equal
educational opportunity, including developing an enhancement pian, for historically
African American colleges and universities and for monitoring progress, making
recommendations regarding needed resources, requiring reports from each governing
board and reporting to the Governor, regarding the State's progress toward
desegregation and equal educational opportunity in the State. Md. Code Ann., Educ. §
11-105{f}. |

31. MHEC is responsible for receiving budget submissions containing the annual
operating budget requests and proposals for capital project submissions from the
governing boards and to present to the Governor and General Assembly a consolidated
operating and capital budget for higher education “that included the operating and
capital budget requests of the governing boards and institutions” including the Board of
Regents of the University System of Maryland, the Board of Regents of Morgan State

University, the Board of Trustees of St. Mary’s College of Maryland, the State Advisory
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Council for Title | of the Higher Education Act of 1965, the Board of Trustees of
Baltimore City Community College, the Board of the Maryland Higher Education
Investment Program and the governing body of each regional higher education center.”
Md. Code Ann., Educ. § 41-1054).

392. MHEC is responsible for reviewing proposals for capital projects and —
improvements proposed by the public institutions of higher education in the State of
Maryland and to develop and submit to the Governor and the General Assembly
cccommendations as to these projects consistent with the State Plan for Higher
Education." Md, Code Ann., Educ. § 11-105(1).

33. MHEC has the statutory authority to authorize the Secretary, acting through
the Attorney General, to seek an injunction or other judicial remedy for any violation of
Title 11 of Md. Code Ann., Educ. :

34. MHEC’s responsibilities include the review and approval of institutional
mission staternents to ensure that each is consistent with ihe State Pian for Higher
Education and is obliged to return to the governing board a proposed mission
statement which is not consistent with the Stale Plan for Higher Education and require
the gaverning board of the institution to revise and amend the statement to make it
consistent with the State Plan. Md. Code Ann., Educ. § 11-302(d).

35. MHEC is responsible for reviewing proposals for new academic programs at
public institutions of postsecondary education and either approve or disapprove the
proposal. Md. Code Ann., Educ. § 11-206 (b). |

36. MHEC is responsible for adopting regulations establishing standards tor

determining whether two (2) or more programs are unreasonably duplicative and to
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ensure that action is taken to eliminate unreasonable duplication. Md. Code Ann.,
Educ. § 11-206 (e}.

37. in December 1999, the State of Maryland and the United States Department
of Education, Office for Civil Rights signed an agreement (Maryland/OCR Partnership
Agreement) designed to “ensure equal access to high quality education for alt of the
State's citizens regardless of race, color, ar national origin.” Maryland/OCR
Partnership Agreement at 22.

38, The duration of the Maryland/OCR Partnership Agreement was “from the date
it was signed [December 2000] through December 31, 2005.” Maryland/OCR
Partnership Agreement at 23.

39. Inthe Maryland/OCR Partnership Agreement, Maryland made 9 commitments
to strengthen academic and teacher preparation programs, to strengthen the
partnership with elementary and secondary school stakeholders, to strengthen
recruitment and admissions, to strengthen ratention and graduation, ta improve campus
climate and environment, to improve diversity of faculty/staff and governing ladvisory
boards, to improve and expand 2 + 2 partnerships and articulation, to avoid
unnecessary program duplication and to expand mission and program uniqueness and
institutional identity at the HBCUs, and to enhance Maryland’s historically black
colleges and universities.

40. In the Maryland/OGR Partnership Agreement, the State committed “to
developing high-demand academic programs at HBCUs and ensuring that they are not
tinnecessarily duplicated at nearby institutions.” Maryiand/OCR Partnership Agreement

at 33.

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At. Inthe Maryland/OCR Partnership Agreement, the State committed “to design
measures which ensure that the HBCUs are comparable and competitive with the TWis
in all facets of their operations and programs, as soon as possible and before the » |
expiration of this Agreement. These measures will be designed to ensure that these
institutions provide equal apportunity for a quality education to all students who choose
to attend them and to enable them to compete for and be attractive to students
regardless of race.”

42, The current State Plan for Higher Education provides that: “Because of ifs
history of de jure racial segregation, Maryland has an obligation under federal law and
coun decisions to remedy past discrimination and remove the vestiges of the past
system of dual and unequal education.” 2004 Stale Plan for Postsecondary Education
at 25.

43. Defendant Kevin M. O'Keefe is respansible for administering MHEC tn a
manner consistent with the State Plan for Higher Education. Md. Code Ann., Educ. §
14-4 o5(b)(2)(i).

44. Defendant Galvin W. Burnett is responsible for administering MHEC in a
manner consistent with the Stafe Plan for Higher Education. Md. Code Ann., Educ. §
14-105(b)(2)(0.
| 45. Defendant Calvin W. Burnett is responsible for organizing and directing the.
staff of MHEC, Md. Code Ann., Educ. § 11-164(b)(i), and seeing that the policies and
decisions of the commission are carried out in a manner consistent with the State Plan
and the State Charter. Md. Code Ann., Educ. § 11-104(b){iii).

46. Defendant Calvin W. Burnett is a member of the Executive Council of the

Governor, Defendant, Robert L. Ehrlich, Jr., Md. Code Ann., Educ. § 41-104{b)(v),

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47. Defendant Robert L. Ehrlich, Jr., is the “head of the Executive Branch of the
(Maryland] State government and... shall supervise and direct the officers and units
in the Branch.” Md. Code Ann., St. Gov't §.3- 302.

48. Defendant Robert L. Ehrlich, Jr., 's responsible for insuring the enforcement of
State and federal laws, including but not limited to the State Plan for Higher Education

| complies with the State's equal educational opportunity obligations under State and
federal law, including Title VI of the Civil Rights Act, ” Md. Code Ann., Educ. § 11-
105(bj, the Maryland Declaration of Rights, Md, Code Ann, Const. An. 24, and US. v.
Fordice, 505 U.S. 717 (1992).

49, OnMay 26, 2006, Defendant Robert L. Ehrlich vetoed legislation passed by
the Maryland General Assembly (Senate Bill 998), which provided, among other
matters, for the achievement of parity between HBCUs and TVW's in accordance with
the State’s equal educational opportunity, nondiserimination based on race, and
desegregation obligations under federal and State law.

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50. Morgan State University was statutorily designated as the State's “urban”
institution in 1976 and was reaffirmed as “the State's public urban university” in 1988.
Md. Code Ann., Educ. § 44-101(2).

51. Pursuant to Education Article, §§11-302 and 303, Annotated Code of
Maryland, the MHEC, with the assistance of the presidents of the public institutions of

higher education, is: required to develop mission statements for the respective

campuses, and to establish and update them at jeast every four yeas.
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Count 1 - Mandamus and injunctive Relief

52. With regard to averments 52-105, 425-127, and 130-134, Defendants acts or
failures to act was intentionally racially discriminatory and/or resulted in a racially
discriminatory impact that Defendants knew or should have known would be the result.

53. Defendants have angaged ina pattern and practice of long term failure and
recalcitrance in performing their duty to enforce federal and State laws, federal and
State equal educational opportunity laws, to make HBCUs comparable and competitive
in all facts of-their operalions, to dismantle the remnants of the de jure racially
segregated system of higher education in Maryland, to eliminate all unnecessary
academic program duplication, and to honor the commitments contained in the
Maryland/OCR Partnership Agreement; this combined with OCR’s failure to effectively
and aggressively enforce relevant desegregation and equal opportunity laws has
resulted in great irreparable harm to all that benefit from the delivery of an effective,
efficient, desegregated system of higher education free of racial discrimination and the
remnants of the past de jure racially segregated system and its continuing effects.

54, Historically and continuing, the Defendants have engaged in a pattern and
practice of long term failure to perform their duty to enforce federal laws for the
provision equal educational opportunity in Maryland public higher education system,
including the U.S. Constitution, Title VI of the Civil Rights Act, ” Md. Code Ann., Educ.
§ 11-105(b}, U.S. v. Fordice, 505 U.S. 717 (1992), and other relevant statutory and
case law. |

55. The Defendants have engaged in an pattern and practice of long term failure
to perform their duty to enforce federal Jaws for the provision equal educational

opportunity in Maryland public higher education system, including the U.S. Constitution,

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Title Vi of the Civil Rights Act, " Md. Code Ann., Educ. § 41-105(b), US. v. Fordice,

505 U.S. 717 (1992), and other relevant statutory and case law.

 

56. Historically and continuing, the Defendants have engaged in an intentional
pattern and practice of long term failure to perform their duty to enforce state laws for
the provision equal educational opportunity in Maryland public higher education system
including the Maryland Constitution, the Maryland Charter for Higher Education, the
Maryland Declaration of Rights, Md. Code Ann, Const. Art. 24, and other relevant
statutory and case law. |

57. The Defendants have engaged in a pattern and practice of long term failure to
perform their duty to enforce state laws for the provision equal educational opportunity |
in Maryland public higher education system including the Maryland Constitution, the
Maryland Charter for Higher Education, the Maryland Declaration of Rights, Md. Code
Ann, Const. Art. 24, and other relevant statutory and case law.

58. The Defendants have failed to perform their duty to provide a thorough and
officient public school system in accordance with the Maryland Canstitution.

59. The Defendants have failed. to perform their duty to act in accordance with the
Maryland Charter for Higher Education and the principles it sets forth on which higher
education in Maryland should be based, to include arnong others: that the people of
Maryland requires quality in all aspects of public higher education (teaching, research,
and public service), that public higher education should be accessible to all those who
seek and qualify for admission, that public higher education should provide a diversity
of quality educational opportunities; that adequate funding by the State is essential and
critical if public higher education is to achieve its goal, that the people of Maryland are

entitled to efficient and effective management of public higher education, and that the

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people of Maryland are entitled to capable and creative leadership in public higher
education.

60. The Defendants have failed to perform their duty to act in accordance with
the Maryland Charter for Higher Education which requires the State's funding policies
allocate State resources efficiently while providing incentives for quality and institutional
diversity.

61. The Defendants have failed to perform their duty to act in accordance with
The Maryland Charter for Higher Education to require funding proposals to include
base funding in accordance with the role and mission of the institutions and to include
special initiative funding for academic programs at historically African American
colleges and universities. Md. Code Ann., Educ. § 10-203.

62. The Defendants have failed to perform their duty to act in accordance with the
Maryland Charter for Higher Education which requires the Governor and General
_ Assembly to establish broad policy regarding higher education, to delegate
implementation of the policy to appropriate boards, commissions, Institutions and
officials, to provide for the adequate financing of public higher education, and to
demand accountability and effective management from public institutions of higher
education. |

63. The Defenciants have failed to perform their duty to act in accordance with the
Maryland Charter for Higher Education which requires the Maryland Higher Education
Commission to advise the Governor and General Assembly on statewide higher
education policy, te conduct statewide planning for higher education, to coordinate and

arbitrate among different segments of higher education in the State; to review,

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_ negotiate as necessary, and grant fina! approval of mission statement for each public
institution of higher education and each regional higher education center that requests
or receives state funding; to assess the adequacy of operating and capital funding for
public higher education and establish operating fu nding guidelines based on
comparison with peer institutions and on other relevant criteria and administer
statewide programs of student financial assistance for higher education.

64. MHEC has failed to perform its duty as the State’s higher education board to
coordinat{ing] the overall growth and development of postsecondary education in the
State.

65. The Defendants have failed to perform their duty to develop a system of
higher education in accordance with the 2004 Maryland State Plan for Postsecondary
Education , specifically as it relates to the Plan’s report that “racial and ethnic minorities
represented all of the enraliment growth in the state during the past 10 years, and that
this trend will not abate”, that half of all of the public high school students in Maryland in
2003 were minorities, that the percentage of African American and Hispanic secondary
school students has risen steadily from 41 to 44 percent in the past four years, and that
African Americans and Hispanics will constitute 80 percent of the growth in high school
graduates in Maryland through 2008. 2004 Maryland State Plan for Postsecondary
Education at 7.

66. The Defendants have failed to perform their duty to develop a system of
higher education in accordance with the 2004 Maryland State Plan for Postsecondary
Education , specifically as it relates to the Plan’s report that financial aid is a critical

component of the State's efforts to improve affordability and minimize financial barriers

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to higher education, that Maryland ig ranked 23” in State need-based grant aid per
ETE, that additional funding is still necessary to assist all eligible needy students.

67, The Defendants have failed to perform their duty to develop a system of
higher education in accordance with the 2004 Maryland State Plan for Postsecondary
Education, specifically as it relates to the Plan's report that it is important that
Maryland's HBCUs, which are projected to absorb significant growth, are enhanced to

- ensure their appeal to new students.

68. The Defendants have failed to perform their duty to develop a system of
higher education in accordance with the 2004 Maryland State Plan for Postsecondary
Education, specifically as it relates to the Plan's report that Maryland is to be committed
to ensuring equal access to high quality education for all citizens regardless of race and
that due to Maryland's history of de jure racial segregation, Maryiand has an obligation
under federal law and court decisions to remedy past discrimination and to remove the
vestiges of the past system of dual and unequal education.

69. The Defendants have failed to perform their duty to develop a system of
higher education in accordance with the 2004 Maryland State Plan for Postsecondary
Education, specifically as it relates to the Plan's report that Maryland has entered a
partnership agreement with the U.S. Department of Education's Office for Civil Rights
(OCR) to advance equal educational opportunity in the State with specific commitments
to include among others, improving campus climate and environment, enhancing. the
State's HBCUs, avoiding unnecessary program duplication, enhancing mission and
program uniqueness, and strengthening institutional identify at the HBIs; it requires the

State to evaluate on an ongoing basis the progress that it has made in these areas and

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to adjust policies, practices, and programs as needed and to determine how to maintain

these efforts after the formal partnership agreement has ended and to identify
additional steps that would enhance and strengthen diversity.

70. The Defendants have failed ta perform their duty to develop a system of
higher education in accordance with the 2004 Maryland State Plan ‘for Postsecondary
Education, specifically as it relates to the Plan's report that the State provide
appropriate enhancement funding for its HBCUs consistent with the requirements set
forth in the Partnership Agreement between the state of Maryland and the United

States Department of Education, Office for Civil Rights (Maryland/OCR Partnership

‘Agreement), and to design measures to make certain that the HBCUs are comparable

and competitive with Maryland's traditionally white institutions in all facets of their
operations and programs, to ensure that the campus environments at the HBCUs are
comparable ta other institutions with respect to the physical characteristics of
landscape, ambiance, appearance, as well as to the availability, quality, and adequacy
of facilities necessary to support the missions and programs of the institutions.

71. The Defendants have failed to perform their duty to develop a system of

higher education in accordance with the 2004 Maryland State Plan for Postsecondary

“Education, specifically as it relates to the Plan’s report that MHEC is obliged to "ensure

that the State Plan for Higher Education complies with the State's equal educational

opportunity obligations under State and federal law, including Title V1 of the Civil Rights

“Act.”

72. The Defendants have failed to perform their duty to develop a program of

desegregation and equal educational opportunity, including developing an

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enhancement plan, for historically African American colleges and universities and for

monitoring progress, making recommendations regarding needed resources, requiring

reports from each gaverning poard and reporting to the Governor, regarding the State’s
progress toward desegregation and equal aducational opportunity in the State.

73. The Defendants have failed to perform thei duly to review and approve
institutional mission statements to ensure that each is consistent with the State Pian for
Higher Education and reject and return to the governing board a proposed mission
statement which is nat consistent with the State Plan for Higher Education and require
the governing board of the institution to revise and amend the statement fo make it
consistent with the State Plan.

74. The Defendants have failed to perform their duty to appropriately review
proposals for new academic programs at public institutions of postsecondary education
and either approve or disapprove the proposal in accordance with state and federal
law.

79. Ihe Defendants have failed lo perform their duty to adopt regulations
asiablishing standards for determining whether two (2) or more programs are
unreasonably duplicative and to ensure that action is taken to eliminate unreasonable
duplication. | | |

76 The Defendants have failed fo perform their duty to create a budgetary and
funding system whereby HBCUs are equitably funded such that they are comparable
and competitive with Maryland's traditionally white institutions in all facets of their
operations and programs, to ensure that the campus environments at the HBCUs are

comparable to other institutions with respect to the physical characteristics of

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landscape, ambiance, appearance, as well as to the availability, quality, and adequacy
of facilities necessary to support the missions and programs of the institutions.

77. The Defendants have failed to perform their duty to honor the State's
contractual commitments under the Maryland/OCR Partnership Agreement (and OCR
has yet to enforce the Agreement or fo secure enforcement of the equal opportunity
principles underlying the agreement) in which the State of Maryland made 3
commitments to strengthen academic and teacher preparation programs, to strengthen
the partnership with elementary and secondary gchoo! stakeholders, to strengthen ,
recruitment and admissions, to strengthen retention and graduation, to improve campus
climate and environment, to improve diversity of faculty/staff and governing/advisory
boards, to improve and expand 2+ 2 partnerships and articulation, to avoid
unnecessary program duplication and to expand mission and program uniqueness and
institutional identity at the HBCUs, and ta enhance Maryland's historically black
colleges and universities. |

78. The Defendants have failed to perform their duty to honor the State’s
contractual commitments under the Maryland/OCR Partnership Agreement in which the
State committed "to developing high-demand academic programs at HBCUs and
ensuring that they are not unnecessarily duplicated at nearby institutions.”
Maryland/OCR Partnership Agreement at 33.

79. The Defendants have failed to perform their duty to honor the: State's
contractual commitments under the Maryland/OCR Partnership Agreement in which the
State committed “to design measures which ensure that the HBCUs are comparabie

and competitive with the TWis in all facets of their operations and programs, as s00n a5
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possible and before the expiration of this Agreement. These measures will be
designed to ensure that these institutions provide equal opportunity for a quality
aducation to all students who choose to attend them and to enable them to compete for
and be attractive to students regardless of race.”

80. Defendant Kevin M. O'Keefe has failed to perform his duty to administer
MHEC in a manner consistent with the State Plan for Higher Education.

31. Defendant Calvin W. Burnett has failed to perform his duty to administer
MHEC in a manner consistent with the State Plan for Higher Education.

ao Defendants MHEC, Kevin M. O'Keefe and Calvin W. Burnett have failed to
perform their duties to organize and direct the staff of MHEC, and seeing that ihe
policies and decisions of the commission are carried out ina manner consistent wiih
the State Plan and the State Charter.

83, ° Defendants have failed to perform their duty to develop academic programs at
institutions of higher education in accordance with State and federal law and have |

unlawfully and unnecessarily duplicated academic programs at the State's HBCUs.
Count 2- Mandamus and Injunctive Relief
Breach of Duty to Maintain Distinct Missions and to

Prevent Unnecessary Duplication of HBCU Missions and Academic Programs

84. Plaintiffs repeat and reallege each allegation and assertion of each preceding

and succeeding paragraph of this complaint as though fully set forth herein.

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85, The Defendants have failed to perform their duty to review and approve
institutional mission statemenis io ensure that each is consistent with State and federal
law and with the State Plan for Higher Education, to reject and return to the governing
hoard a proposed mission statement which is not consistent with the State Plan for
Higher Education; and to require the governing board of the proposing institution io
revise and amend the statement to make if consistent with the State Plan.

86. Defendants have failed to perform their duty to review, approve or reject
academic program praposals from TWis which would result in unnecessary program
duplication at geographically proximate HBCUs in accordance with State and federal
law.

a7, Defendants disregarded and preached their duty to prevent unnecessary
mission and program duplication at geographically proximate HBCUs by engaging in
whole institution duplication by creating or including in the State system whale,
predominantly white, institutions, i.e., the creation of University of Maryland Baltimore
County (UMBC) and acquisition of the University of Baltimore (UB) which duplicated |
institutions, missions, and programs at proximately-located HBCUs.

88. Defendant Calvin W. Burnett failed and disregarded his duty to evaluate
program proposal submissions and to approve OT disapprove them in accordance with
relevant information and data in accordance with State and federal law.

a9. Contrary to State and federal law prohibiting racial discrimination, Defendants

have unnecessarily duplicated academic programs and missions of the State's HBCUs

when they had a duty not to engage in such duplication.

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90. Contrary to their duty nat fo duplicate HBCU missions and programs, .
Defendants have wilfully authorized the duplication of institutional missions and
academic programs of geographically proximate Maryland HBCUs.

| 91. Contrary to State and federal law, Defendants have unnecessarily, for the
purpose of continuing to maintain unlawful racial segregation, duplicated academic.
| programs and missions of the State’s HBCUs when they had a duty not to authorize
such duplication.

92. Defendants have falled to perform their duty in accordance with State law to
provide notice io the institutions of higher education, regarding proposed academic
programs and fo provide opportunity for comments and/or abjection on those
proposals.

93. Defendants, contrary to their duty not to permit unnecessary academic
program duplication of HBCU programs at geographically proximate TWis, have
approved, the duplication of the following known programs {among other potential but
unknown program duplications, unknown due to Defendants failure to provide
statutorily required notice of proposed programs and to otherwise produce public
records containing that information):

° Masters Business Administration (duplication of existing Morgan State
University program)

. Computer/Electrical Engineering (duplication of existing Morgan State
University program)

. Public Health (duplication of existing Morgan State University program)

Math Education (duplication of existing Morgan State University program)

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. Science Education (duplication of existing Morgan State University
program}

" Master's in Education (duplication of existing Morgan State University
program)

94, Defendants violated the laws ag ainst racial segregation and breached their
duty to ensure equitable funding by failing to fund academic programs approved for
HBCUs, then duplicating the programs at nearby TYVIS and then providing full funding
to the duplicate programs, making it extraordinarily difficult for HBCUs to develop their
programs, 10 achieve racial diversity in enrollments, to maintain student enrollments
and to compete against the duplicate programs at the TWis. The actions by the
defendants have caused and continue to cause irreparable injury to the Plaintiffs.

95. Contrary to their duty to prevent the duplication of HBCU missions and
programs at proximately located TWis, Defendants approved Towson University’s
mission as “the State's metropoiitan university,” which duplicated Morgan State
University mission as “the State's public urban university" in violation of Maryland and
federal jaw.

96. | Contrary to their duty not to duplicate HBCU missions and programs,
Defendants approved and granted Towson University degree authority for the master’s
of business administration, thereby unnecessarily duplicating an existent MBA program

at proximately located Morgan State University, in violation of Maryland and federal

law.
97. Onor about September 20, 2005, Towson University submitted to MHEC a

proposed mission statement, identifying the campus as "the State’s metropolitan

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university.” . This represenied at least the second time Towson University attempted to
duplicate Morgan State University’s mission, as it sought recognition as a "metropolitan
institution" in a 2000 submission fo MHEC. |

98, Defendant Calvin W. Burnett circulated Towson's proposed mission statement
to the other public higher education institutions for comment.

99, By letter, dated December 9, 2005, Dr. Earl S. Richardson, President ot
Morgan State University, abjected to Towson’s proposed mission, as duplicative of
Morgan's existing designation as “the State's public urban university.”

400, On February 15, 2006, and over Morgan State University’s objection,
Defendant Calvin W. Burnett submitted Towson’s proposed mission to the MHEC, with
a recommendation for “acceptance...pending a study of the issue ,,. .

401. On February 15, 2006, MHEC accepted Defendant Calvin W. Burnett's

recommendation and approved Towson's proposed mission statement.

402. Towson University currently includes the mission designation in printed
materials and on the University wabsite.

403.. The duplication of missions and academic programs of Maryland HBCUs
has caused substantial and irreparable harm to Maryland HBCUs.

“404, In March 2008, Defendant Calvin W. Burnett approved a proposal for a
‘Master of Business Administration (MBA) to be jointly offered by Towson University and
the University of Baltimore, which constituted a new program approval for Towson
University.

105. The process used to evaluate the Towson proposal was flawed and biased.
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406, The Towson MBA caused demonstrable harm io a Maryland HBCU, Morgan |
State University, bY compromising efforts to achieve racial diversity in the Morgan
student body; siphoning off enrollment and otherwise negatively impacting the
institution's ability to develop the program.
107. Unnecessary academic program duplication is harmful, socially and
economically, to the citizenry of the State of Maryland, the HBCUs, students attending
HBCUs 2 and the public at large because the duplication: wastes and dilutes limited
State resources when programs already exist to meet the demand and thereby
reducing the economic efficiencies of the higher education system, undermines the
State's diversity and desegregation efforts, perpetuates segregation, impairs HBCU
enhancement efforts, impairs HBCU anroliment growth, and discourages cooperation
among institutions. .

108. Unnecessary academic program duplication is harmful because the greater
the duplication, the less likely it is that quality programs can be adequately supported
since limited resources are spread out over more programs. |

109. Unnecessary academic program duptication is harmful because the more
programs are duplicated, the less likely it ts that quality programs can be adequately
supported. | | | |

410, Unnecessary academic program duplication is harmful because program
duplication among geographically proximate campuses having different predominant
races lessens the incentive for students to choose campuses On the basis of program
availability and increases the likelihood that choice will be based on race, thereby

undermining the State's diversity and desegregation goals and mandates.
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Count 3- Mandamus, injunctive Relief. and Declaratory Judgment

411. Plaintiffs repeat and reailege each allegation and assertion of each
preceding and succeeding paragraph of this cormptaint as though fully set forth herein.

112. | Plaintiffs are entitled to an order in the nature of mandamus and injunctive
relief to compel Defendants to discontinue institutional mission and academic program
duplication because Defendants MHEC and Calvin W. Burnett have acted outside their
authority.

443. Defendant MHEC has a policy and/or practice of not circulating documents
as required by statute and regulation. | |

1 44. Defendant MHEC, on February 15, 2006, approved Towson's new mission
statement as a “metropalitan” university, thereby duplicating Morgan's mission
statement and statutary designation as “the State's public urban university.” The terms
“metropolitan” and ° ‘urban” are used interchangeably to describe Universities whose
emphasis is on combining academic programming with interdisciplinary partnerships to
resolve complex metropolitan problems. This approval is in violation of equal protection
as guaranteed by the Maryland Declaration of Rights, Md. Code Ann., Const. Art. 24
and the Constitution and laws of the United States. Plaintiffs have been prejudiced by
Defendant's actions and continues to suffer irreparable harm and injury. The duplication
of Morgan’s mission is more than symantics, as flowing from that designation is a
broadening of Towson's mission into educational, research and service emphases

which cause unnecessary duplication of HBCUs in all manner of operations to include
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duplication of academic programs, all to the detriment HBCUs, the fulfillment of the
State desegregation and equal educational opportunity obligations.

415. Defendants MHEC and Calvin W. Burnett have exceeded their statutory —
authority and acted in an arbitrary and capricious manner.in approving the duplicative
mission statement of Tawson University since the statute requires the Commission to
reject the proposed mission statement if it is inconsistent with the state plan for higher
education, Md, Code Ann., Educ. § 11-302(4)(3). |

416. | Plaintiffs are entitled to injunctive relief and an order of mandamus .
compelling Defendants to reverse the recent MHEC decision to approve Towson’s
mission statement.

147. Plaintiffs are entitled to an injunction and an order of mandamus to compel
Defendants to cease and desist from including said designation in printed and
published materials.

418, Plaintiffs repeat and reallege each allegation and assertion of each
preceding and succeeding paragraph of this complaint as though fully set forth herein.

419. Plaintiffs are entitied to a judgment declaring Towson’s proposed mission
statement as duplicative of Morgan State's University’s existing mission statement and
tp enjoin the same.

120. Plaintiffs assert that the violations of the Maryland Declaration of Rights and
other state and federal law being perpetrated by the Defendants, and being challenged
by the Plaintiifs, constitutes an actual controversy between the partles to this lawsult.

Md. Code. Ann., Cts. & Jud. Proc. §3-409(a}(1).
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421. Plaintiffs assert that their present claims will lead to ‘mminent and inevitable
litigation. Md. Code. Ann., Cts. & Jud. Proc. §3-409(a)(2).

422, Plaintiffs assert that declaratory judgment and injunctive relief is necessary
to terminate the controversy giving rise to this action. Md. Code. Ann., Cts. & Jud,
Proc. §3- -409(2). Morgan State University, through a letter from its President, has
formally objected to the proposed mission statement of Towson University. Defendants
have persisted in their unlawful and unconstitutional policies and practices that have
historically and continue to discriminate against the Plaintiffs, and Morgan State

University and its student body.

Count 4- Mandamus and Injunctive Relief
Duty to require the annual submission of budgets

424. Plaintiffs repeat and reallege each allegation and assertion of each
preceding and succeeding paragraph of this complaint as though fully set forth herein.

424. Defendant MHEC, failed to perform it duty to receive, require, and review
budget submissions from all governing boards of State higher education institutions and
to enforce that requirement on those recalcitrant in submitting the required budget
proposals. |

425. The Defendants have failed to perform their duty to insure that MHEC
receives budget submissions containing the annual operating budget requests and
proposals for capital project submissions from the governing boards and presents to
the Governor and General Assembly a consolidated operating and capital budget for

higher education “that included the operating and capital budget requests of the

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governing boards and institutions” including The Board of Regents of the University
System of Maryland, the Board of Regents of Morgan State University, the Board of
Trustees of St. Mary's College of Maryland, The State Advisory Council for Title | of the
Higher Education Act of 1965, The Board of Trustees of Baltimore City Community
College, the Board of the Maryland Higher Education Investment Program and the |
governing bady of each regional higher education center.”

126. The Defendants have failed to perform their duty to insure that MHEC review
proposals for capital projects and improvements proposed by the public institutions of
higher education in the State of Maryland and develop and submit to the Governor and
the General Assembly recommendations as to these projects consistent with the State
Pian for Higher Education.”

427. MHEC has the statutory authority to authorize the Secretary, acting through
the Attorney General, to seek an injunction of other judicial remedy for any violation of
Title 14 of Md. Code Ann., Educ.

INJUNCTIVE RELIEF

428. Plaintiffs reallege and incorporate by reference each allegation and assertion
of each preceding paragraph of this complaint as though fully set forth herein.

429. By adopting the policies and practices set forth above, Defendants Erhlich,
State of Maryland, Maryland Higher Education Commission, and Calvin W. Burnett,
have caused and will continue to cause plaintiffs irreparable harm and injury, in that
Plaintiffs have been denied, because of their race, equal opportunity in higher
education due to the Defendants denial of equitable educational benefits because State

resources have inequitably been distributed to the State's public institutions based on

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the race of the individual students who attend those institutions, the predominate racial
composition of the institutions’ student body, the past and/or present racial identifiability
of the institution, and/or the State’s maintenance of a dual system of higher education
based on race.

430, Defendants pattern and practice of providing less resources to the State's

“ HBCUs than to the States TWis has resulted in HBCUs which are not comparable or
competitive with the TWis in all facets of their operations and adversely impacting the
quality, altractiveness and viability of HBCUs in the following areas. all of which
adversely impact and/or harm students, faculty, employees and the public: fewer and
lesser quality facilities, smaller academic program inventories; less comprehensive
missions; lesser capacity tor generating revenue to support student financial aid;
higher student-faculty ratios; less money for employee and faculty salaries and benefits
affecting the institutions’ ability to attract and retain quality faculty and employees
consistent with the mission and Carnegie classification, and all other institutional
operations and activities, all af which impact the quality, viability, and fiscal soundness
of an institution of higher education.

431. The lack of State resources to fund new academic programs at HBCUs,
when new programs are. funded at TWis, impact the quality of the new programs which
directly and adversely impacts the quality of the educational product delivered to
students. | .

432, The failure to make HBCUs comparable and competitive with TWIs in all
facets of theit operations and/or the duplications of HBCU academic programs,

constrains the growth of HBCUs and reduces diversity in the student body which harms

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giudents because they are not exposed to 4 diversity of students (racially, culturally,
socio-economically, and by ability) are disadvantages since the academic enterprise ts
enhanced by 4 diversity of ideas and perspectives.

433, The lack of resources artificially constrains the growth of HECUs and
prevents them fram providing educational services to large numbers of persons
qualified for admission (many of whorn are African American and other minorities).
This artificial. constraint on growth adversely affects enrolled students because they are
unable to realize the benefils of a vibrant, growing, institution. With increased
institutional growth comes many benefits to include by way of examples: increased
revenue streams from ali sources (public and private), more capacity for State income,
more tuition and fees revenue, better and greater buying power for all types of
commodities and services, increased academic vitality that comes from the
maintenance of mature, accomplished faculty with the perspective that comes from
experience combined with an infusion of new faculty with new ideas, research, and
ability to work side by gide with earlier-hired faculty, thereby ensuring the vitality,
resiliency, dynamism and growth of the academic enterprise, all of which enures to the

benefit of students when present and to the detriment of students when absent.

434.. The availability of student financial aid, particularly institution-based financial
aid, is directly and adversely affected by any and ail factors that constrain institutional
development. This harms students and the student Plaintiffs in need of financial aid
because some must quit due to lack of financial resources, others must work thereby
affecting the amount of time devoted to their studies and their ability to achieve the

necessary levels of proficiency for graduate studies oF disciptine-related amployment,
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and still others are never able to matriculate to the institution due to financial

| constraints. Reduced financial aid adversely and disproportionately affects HBCUs

greater (than TWis) because much higher proportions of African American students
are in need of financial aid than white students, and HBCUs serve a higher proportion

of African American students than do TWis.

435, The previously identified harms also harm the public and are adverse to the
public interest because public institutions provide substantial services and benefits to

the public. in (he form of research, services, and facilities as wall as increased

educational opportunities to the public and State's citizens increases the overall welfare

of the citizenry, families, the State's revenue streams, the State's ability to compete in
domestic and global economies, the ability of the State's citizens to engage in
meaningful and productive vocations to the benefit of the State and society as a whole,
and the cultivation of a labor force capable of sustaining our local, state, national and
international communities. |

136. State actions which impair the vitality and growth of its public institutions
adversely impact the public by reducing all that public institutions provide, as indicated
in the number averment immediately preceding this one, and also results in less
educational opportunities causing them to have lesser ability to reach their full potential
anc increased chances for them to engage in pursuits of less benefit to society.

137. Plaintiffs have no remedy at law adequate to prevent the continuing wrong

and irreparable injury caused by defendants’ acts and omissions.
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DECLARATORY RELIEF

438, An actual controversy exists between plaintiffs and defendants in that
plaintiffs contend that the policies and practices set forth in paragraphs 4-138, supra,
violate the U.S. Constitution, the State’s equal educational opportunity obligations
under State and federal law, including Title V! of the Civil Rights Act, Md. Code Ann.,
Educ. § 11-105(b), including the Maryland Declaration of Rights, Md. Code Ann,
Const. Art: 24, US. ¥. Fordice, 505 US. 717 (1992).

439. Unless there is a judicial declaration of plaintiff's rights, Defendants’ unlawful

conduct will continue. |

WHEREFORE, plaintiffs pray for the follawing relief:

. For the issuance of a writ of mandamus ordering Defendants te perform their
duties in all the areas identified in this Complaint,

. For the issuance of a writ of mandamus ordering Defendants to assert their
authority over proposed pudget submission for University System of Maryland
and to enforce that authority if the necessary proposed budgei{s) are submitted
in accordance with State law. -

* For the issuance of a writ of mandamus ordering Defendants to eliminate all
unnecessary program duplication of academic programs at the State’s HBCUs.

. For the issuance of a writ of mandamus ordering Defendants to provide
Maryland HBCUs with all the necessary resources and support to insure that

they are comparable and competitive with Maryland's traditionally white

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institutions in all facets of their operations and programs, to ensure that the
campus environments at the HBCUs are comparable to TWis with respect to the
physical characteristics of landscape, ambiance, appearance, as well as to the
availability, quality, and adequacy of facilities necessary to support the missions
and pragrams of the institutions. |
Far the issuance of a writ of mandamus ordering Defendants to fully fund all
academic programs at HBCUs.

| For the issuance of a writ of mandamus ordering Nefendants to develop,

- implement and enforce policies and procedures which insure that MHEC
operates in an independent and objective manner with no opportunities for
undue influence of one segment over another and that it develops sufficient
transparency in its operations to allow it to operate in a racially equitable fashion.
For the issuance of a writ of mandamus ordering Defendants to establish a
system OF disincentives and/or discipline for individual or institutional efforts to
circumvent OF undermine the State’s equal educational opportunity obligations
under State and federal law, including Title V1 of the Civil Rights Act," Md. Code
Ann., Educ. § 41-105(b}, including the Maryland Declaration of Rights, Md.
Code Ann, Const. Art. 24, US. v. Fordice, 505 U.S. 717 (1992). Such a system
shall designate certain goals to be achieved and the failure to achieve such
goals treated in a manner as {o discourage continued failure to achieve the
goals.

For the issuance of a writ of mandamus ordering Defendants to establish a

system to reward any individual or institutional efforts to promote or enhance

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the State’s equal educational opportunity obligations under State and federal
law, including Tite Vi of the Civil Rights Act, " Md. Code Ann., Educ. § 11-
405(b), including the Maryland Declaration of Rights, Md, Code Ann, Const. Art.
24, U.S. v. Fordice, 505 U.S. 717 (1992). Such a system shall designate certain
goals ta be achieved and accomplishment of such goals treated ina manner as
to promote the continued achievement of such goals.

For the issuance of 4 writ of mandamus ordering Defendants to honor all
commitments made in the OCR/Maryland Partnership Agreement no later that12
months after the issuance of the writ.

For the issuance of a writ of mandamus ordering Defendants to immediately
revise the State funding guidelines so as to create funding guidelines unique ta
HBCUs which da not compare them to other funding-challenged HBCUs and
instead focus solely on enhancing the HBCUs to reach comparability and
competitiveness with the State TWis in all respects as identified in the OCR
Partnership Agreement and all other relevant State and federal laws.

Eor the issuance of a writ af mandamus ordering Defendants to transfer
resources allocated to dupticate academic programs to HBCUs and to provide

HBCUs with any additional resource and/or infrastructure needed to meet the

demand.

For-the issuance of a writ of mandamus ordering Defendants to rescind decision

to offer a 4-year program of study ai the University of Baltimore.
For the issuance of a writ of mandamus ordering Defendants act in accordance

with all other duties required af them by State and federal law with regard to
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equal educational opportunity desegregation and the elimination of racial

discrimination in Maryland higher education.

For the issuance of a writ of mandamus ordering Defendants to reverse the

recent MHEC decision to approve Towson’s mission statement to include a
designation as the State's “metropolitan university”.

to reverse a recent decision of the Maryland Higher Education Commission to
approve Towson University's mission as “the State’s metropolitan university”

to reverse the grant to Towson of degree authority for the master's of business
administration which is duplicative of the Morgan State University mission as
“the State’s public urban university” and its existent MBA program in violation of
Maryland and federal law.

For a preliminary and permanent injunction restraining Defendants from
commencing or maintaining any improvements OF enhancements to State TWis
untit such time as HBCUs achieve parity and comparability with TWI's and then
to provide equitable resources to both HBCUs and TWI's to insure that
comparability, competitiveness, and parity is maintained in perpetuity.

For a preliminary and permanent injunction rescinding MHEC’s approval of the
Towson MBA and all other programs which duplicate program offerings at
proximate HBCUs.

For a preliminary and permanent injunction preventing Defendants to approve OF
locate a branch program of an existing program at a TWI so that it is proximate —

and thereby duplicates a program at an HBCU.

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For a preliminary and permanent injunction restraining Defendants from
including the designation of “the State's metropolitan university,” or any
derivation thereof, for Towson University in printed and published materials.
For a preliminary and permanent injunction restraining Defendants from
duplicating the institutianal Missions of HBCUs at proximately located TW\s.
Fora preliminary and permanent injunction restraining Defendants from
duplicating academic program of HBCUs at proximately located TWis. |

For a preliminary and permanent injunction restraining Defendants from acting in

-a manner inconsistent with the U.S. Constitution, the Maryland Constitution, the

Maryland Charter for Higher Education, the Maryland State Plan for
Postsecondary Education, the State’s equal educational oppertunity obligations
under State and federal law, including Title VI of the Civil Rights Act, ” Md. Code
Ann., Educ. § 41-105(b}, including the Manland Declaration of Rights, Md.
Code Ann, Const. Art, 24, U.S. v. Fordice, 505 U.S. 717 (1992).

For a dectaratory judgment that Towson University's missions statement is
duplicative of the mission statement of Morgan State University.

For a declaratory judgment that the duplication by TWis of academic programs,
institutions, and missions of proximaiely located HBCUs is unlawful,

That the Court grant such other and further relief as this Court deems proper
under the circumstances.

For court costs, other costs associated wilh [hese proceedings and reasonable

attorneys fees;

 
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. For an expedited hearing and issuance ofa preliminary injunction preventing
continuing injury to the Plaintiffs during the course of these proceedings, and
: For such other and further relief as the Court may deem just and proper and the

nature of these proceedings require.

Request for Jury Trial

Plaintiffs respectfully request a trial by jury for all counts and issues 8° triable.

 
    
    

  

    

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